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     (657) 363-4699
 4   Attorney for Plaintiff

 5

 6
                                UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF OREGON
 8

 9
                                        PORTLAND DIVISION

10
     TROY HOLLAND-MASTER,                             Case No. 3:18-cv-02154-MO
11
                       Plaintiff,
12
     v.                                               NOTICE OF VOLUNTARY DISMISSAL
13

14

15
     CHASE BANK USA, N.A.,

16                    Defendant.

17

18          PLEASE TAKE NOTICE the Plaintiff to this action, acting through counsel, and

19   pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) hereby gives notice that the above-
20
     captioned action is voluntarily dismissed, without prejudice against the Defendant.
21

22
                                                  RESPECTFULLY SUBMITTED,
23
            Dated: February 5, 2019
24
                                                  /s/ James A. Sellers
25                                                James A. Sellers, #184404



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                                    NOTICE OF VOLUNTARY DISMISSAL
              Case 3:18-cv-02154-MO           Document 11        Filed 02/06/19   Page 2 of 2




                                      CERTIFICATE OF SERVICE
 1

 2          I hereby certify that on February 5, 2019, a copy of the foregoing Notice of Voluntary
 3   Dismissal was electronically filed with the CM/ECF system, which will automatically send
 4   email notification of such filing to all attorneys of record.
 5
                                                    RESPECTFULLY SUBMITTED,
 6

 7                                                  /s/ James A. Sellers
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 8                                                  jamess@jlohman.com
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                                     NOTICE OF VOLUNTARY DISMISSAL
